     Case 2:21-cv-01691-RAO Document 17 Filed 09/29/21 Page 1 of 1 Page ID #:623




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12                         UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
13                              WESTERN DIVISION
14   SETA BAKALIAN,                       ) Case No. 2:21-cv-01691-RAO
15            Plaintiff,                  ) [PROPOSED] JUDGMENT OF
     vs.                                  ) REMAND
16
                                          )
17                                        )
     KILOLO KIJAKAZI, Acting
18   Commissioner of Social Security,     )
                                          )
19            Defendant.                  )
     _______________________________ )
20
          The Court, having approved the parties’ Stipulation to Voluntary Remand
21
     Pursuant to Sentence Four of 42 U.S.C. § 405(g) and to Entry of Judgment
22
     (“Stipulation to Remand”) lodged concurrent with the lodging of the within Judgment
23
     of Remand, IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the
24
     above-captioned action is remanded to the Commissioner of Social Security for further
25
     proceedings consistent with the Stipulation to Remand.
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27
     DATED: September 29, 2021
28
                                          HON. ROZELLA A. OLIVER
                                          UNITED STATES MAGISTRATE JUDGE

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